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                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division

  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, TYLER MAGILL, APRIL
  MUNIZ, HANNAH PEARCE, MARCUS
  MARTIN, JOHN DOE, JANE DOE 1, JANE
  DOE 2, and JANE DOE 3,

                         Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,                  Civil Action No. 3:17-cv-00072-NKM
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS,
  LEAGUE OF THE SOUTH, JEFF SCHOEP,
  NATIONAL SOCIALIST MOVEMENT,
  NATIONALIST FRONT, AUGUSTUS SOL
  INVICTUS, FRATERNAL ORDER OF THE
  ALT-KNIGHTS, MICHAEL “ENOCH”
  PEINOVICH, LOYAL WHITE KNIGHTS OF
  THE KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                         Defendants.


                [PROPOSED] ORDER GRANTING CONSENT MOTION
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         WHEREAS, on November 14, 2017, the Court entered a Pretrial Order that, among other

  provisions, permitted the parties ten days to request changes to the deadlines and orders

  contained therein; and

         WHEREAS, on November 22, 2017, Plaintiffs and Defendants Christopher Cantwell,

  Nathan Damigo, Matthew Heimbach, Identity Evropa, Jason Kessler, Elliot Kline, National

  Socialist Movement, Nationalist Front, Matthew Parrott, Jeff Schoep, Traditionalist Worker

  Party, Vanguard America, Robert Ray, Michael Hill, Michael Tubbs, and the League of the

  South (collectively, “Joining Defendants”), submitted a Consent Motion for Extension of Time,

  to Exceed Page Limits, and for a Briefing Schedule seeking, inter alia, certain changes to the

  Pretrial Order;

         NOW, THEREFORE, it is ordered:

         1.         All motions to dismiss from Defendants who have been served as of the date of

  this Order (the “Served Defendants”) and who have not already served a response will be due

  December 7, 2017, regardless of when a specific Served Defendant was served.

         2.         Plaintiffs’ opposition to all motions to dismiss filed prior to entry of this order, or

  filed up to and including December 7, 2017, will be due January 5, 2018. If Plaintiffs choose to

  exercise their right under Fed.R.Civ.P.15(a)(1)(B) to amend their Complaint in response to a

  motion to dismiss, that amended pleading would similarly be due January 5, 2018.

         3.         Plaintiffs may exceed the word limit for a response if they choose to consolidate

  their opposition briefs, provided that the total word count of Plaintiffs’ consolidated response

  does not exceed 14,000 words.

         4.         Replies in support of any motions to dismiss will be due January 19, 2017.
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          5.      The Parties must conduct a Fed.R.Civ.P.26(f) conference within seven (7) days of

  entry of this order.

          6.      Within seven (7) days of the Fed.R.Civ.P.26(f) conference, the Parties must

  submit their proposal for disclosure and discovery deadlines.



  Dated: November _____, 2017

  SO ORDERED




                                                           Hon. Joel C. Hoppe, M.J.




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